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     Attorney for Plaintiff

7                        UNITED STATES DISTRICT COURT
8
                    FOR THE EASTERN DISTRICT OF CALIFORNIA

9    WENDI BEATTY,                   ) Case No. 2:10-CV-02840-LKK-GGH
                                     )
10
     Plaintiff,                      ) NOTICE OF VOLUNTARY
11                                   ) DISMISSAL WITHOUT PREJUDICE
            vs.                      )
12
                                     )
13   NATIONAL CHECK PROCESSING, )
     LLC; and MICHELLE D. TURNER, an )
14
     individual,                     )
15                                   )
16

17         NOTICE IS HEREBY GIVEN that Plaintiff has filed with the Clerk of the
18
     Eastern District Court of California, Plaintiff’s Notice of Voluntary Dismissal Without
19
     Prejudice, a copy of which is hereby served upon Defendant.
20

21         RESPECTFULLY SUBMITTED this 6th day of January, 2011.
22
                               By:    s/Todd M. Friedman
23                                    Todd M. Friedman, Esq.
                                      Law Offices of Todd M. Friedman, P.C.
24                                    tfriedman@AttorneysForConsumers.com
25                                    Attorney for Plaintiff

26

27

28




                                        Notice of Dismissal - 1
           Case 2:10-cv-02840-LKK-GGH Document 7 Filed 01/06/11 Page 2 of 2


1

2    Filed electronically on this 6th day of January, 2011, with:

3    United States District Court CM/ECF system
4
     And hereby served upon all parties
5

6
     Notification sent on this 6th day of January, 2011, via the ECF system to:

7    Honorable Lawrence K. Karlton
8
     Judge of the United States District Court
     Eastern District of California
9
     Copy sent via mail on this 6th day of January, 2011, to:
10

11   National Check Processing
     Attn: Michelle D. Turner
12
     10605 Theresa Dr # 6
13   Jacksonville, FL 32246 -8758
14
     January 6th, 2011
15
     By: s/Todd M. Friedman
16
         Todd M. Friedman
17

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                                           Notice of Dismissal - 2
